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                               IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

KATHLEEN HUNT,                                       §
                                                     §
                 Plaintiff,                          §
                                                     §
VS.                                                  §         Case No. 5-21-CV-00346-JKP
                                                     §
ASI LLOYDS                                           §
                                                     §
                Defendant.                           §


                                        JOINT ADR REPORT


           Pursuant to the Court’s Scheduling Order 1 and Local Rule CV-88, Plaintiff Kathleen Hunt

(“Plaintiff’) and defendant ASI Lloyds (“ASI”) (collectively, the “Parties”), file this Joint

Alternative Dispute Resolution Report, respectfully showing the Courts as follows:

                              INFORMATION REQUIRED BY RULE CV-88(b)

           1.       Status of Settlement Negotiations. As required by the Court's Scheduling Order,

Plaintiff submitted a written offer of settlement on September 8, 2021. ASI is required to respond

by September 22, 2021 in accordance with the Court’s Scheduling Order.

           2.       Identity of the person responsible for settlement negotiations. Plaintiff’s

counsel, Perry J. Dominguez II, and ASI’s counsel, Michael I. Ramirez, and David A. DuBois are

responsible for settlement negotiations.

           3.       Whether alternative dispute resolution is appropriate in this case. The Parties

agree ADR is appropriate for this case, and that mediation is the method most likely to result in a




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       mutually agreeable resolution of the Parties’ dispute. The parties will confer and agree to

a mediator in this matter.

       4.      Timing for Alternative Dispute Resolution. The parties anticipate working to

schedule mediation after plaintiff’s deposition has been completed. Plaintiff’s deposition is

presently scheduled for September 24, 2021.

                                              Respectfully submitted,

                                              PERRY DOMINGUEZ LAW FIRM PLLC
                                              2101 NW Military Hwy
                                              Castle Hills, Texas 78213
                                              (210) 562-2879 Telephone
                                              (210) 570-2322 Facsimile

                                        By: /s/ Perry Dominguez
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                                              OF COUNSEL:

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                                              ATTORNEYS FOR PLAINTIFF

                                              And

                                              McCOY LEAVITT LASKEY LLC
                                              20726 Stone oak Parkway, Suite 116
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                                              (210) 446-2828 Telephone
                                              (262) 522-7020 Fax

                                        By: /s/ David A. DuBois
                                            David A. DuBois

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                                             Michael I. Ramirez
                                             State Bar No. 24008604
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                                             ATTORNEYS FOR DEFENDANT
                                             ASI LLOYDS, INC.




                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been served
electronically via CM/ECF this 8th day of September 2021 to:

       Michael I. Ramirez
       David A. DuBois
       McCoy Leavitt Laskey LLC
       20726 Stone Oak Parkway, Ste. 116
       San Antonio, TX 78258

       ATTORNEYS FOR DEFENDANT

                                             /s/ Perry Dominguez
                                             Perry J. Dominguez II




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